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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


 STATE OF MARYLAND,

         Plaintiff,

 v.                                                             Civil Action No. 18-cv-2849 (ELH)

 UNITED STATES DEPARTMENT OF
 JUSTICE et al. ,

         Defendants.



      DEFENDANTS’ MOTION TO STAY RESPONSE TO COURT’S JANUARY 2, 2019
              ORDER IN LIGHT OF LAPSE IN APPROPRIATIONS

        The United States of America moves for a stay of its response to the Court’s January 2, 2019

Order in the above-captioned case. As grounds for this request, the United States of America states

the following:

        1.       At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired and appropriations to the Department lapsed. The same

is true for several other Executive agencies. The Department does not know when funding will be

restored by Congress.

        2.       The undersigned did not initially file a stay motion in this matter as part of the

Department’s orderly shutdown given that the parties’ respective motions, i.e., Defendants’ motion

to dismiss and the State’s preliminary injunction motion, have been briefed and argued and are

pending disposition by the Court. The Court’s January 2 Order now requires a response from

Defendants by Wednesday, January 9.
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        3.       Absent an appropriation, however, Department of Justice attorneys are prohibited

from working, even on a voluntary basis, except in very limited circumstances, including

“emergencies involving the safety of human life or the protection of property.” 31 U.S.C. § 1342.

        4.       Undersigned counsel for the Department of Justice therefore requests a stay of the

United States’ response to the Court’s January 2, 2019 Order until Congress has restored

appropriations to the Department.

        5.       If this motion for a stay is granted, undersigned counsel will notify the Court as soon

as Congress has appropriated funds for the Department. The Government requests that, at that

point, all current deadlines for the parties be extended commensurate with the duration of the lapse

in appropriations.

        6.       Opposing counsel has authorized counsel for the Government to state that Plaintiff

opposes this motion.

                 Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of its response to the Court’s January 2, 2019 Order

until Department of Justice attorneys are permitted to resume their usual civil litigation functions.




Dated: January 3, 2019                           Respectfully submitted,

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                                                 Civil Division

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                                                 Deputy Assistant Attorneys General

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                            Acting Deputy Director

                            /s/ Tamra T. Moore
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